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              UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


STATE OF NEVADA,                    )
                                    )
                Petitioner,         )
                                    )
v.                                  )      Case No. 23-1113
                                    )
U.S. ENVIRONMENTAL                  )
PROTECTION AGENCY and               )
MICHAEL S. REGAN,                   )
Administrator, U.S. EPA,            )
                                    )
                Respondents.        )

STATE OF NEVADA’S MOTION TO GOVERN FUTURE PROCEEDINGS


                                 Aaron D. Ford
                             Nevada Bar No. 7704
                           ATTORNEY GENERAL
                                Heidi Parry Stern
                             Nevada Bar No. 8873
                            SOLICITOR GENERAL
                     Office of the Nevada Attorney General
                      555 E. Washington Ave., Ste. 3900
                             Las Vegas, NV 89101
                                Ph. 702-486-3594
                               HStern@ag.nv.gov

                       Attorneys for the State of Nevada
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       On April 24, 2024, the Court issued an order requiring the parties in these

consolidated actions to file motions to govern further proceedings within 14 days of

the Supreme Court’s disposition of the petitions for writ of certiorari in Oklahoma

v. EPA, No. 23-1067, and PacificCorp v. EPA, No. 23-1068, or by July 5, 2024,

whichever comes earlier. The Supreme Court has not disposed of the petitions for

writ of certiorari.

       In support of this motion, the Petitioner states as follows:

I.     Background

       These cases seek judicial review of the final decision of the U.S.

Environmental Protection Agency (“EPA”) to disapprove the individual State

Implementation Plans developed by Nevada, Utah and Oklahoma to comply with

the Clean Air Act’s “Interstate Transport Provision,” 42 U.S.C. 7410(a)(2)(D)(i), for

the 2015 ozone National Ambient Air Quality Standards. 88 Fed. Reg. 9,336 (Feb.

13, 2023) (“Final Rule”).

       Upon publication of the Final Rule, Nevada timely filed a petition for review

in this Court. Nevada further was granted intervention in the Ninth Circuit case

Nevada Cement Company LLC v. EPA (9th Cir. Apr. 14, 2023). On June 27, 2023,

this Court ordered the cases in abeyance and directed the parties to file motions to

govern further proceedings within 30 days of the Tenth Circuit’s disposition of State




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of Utah v. EPA (10th Cir. Feb. 13, 2023) or the Ninth Circuit’s disposition in Nevada

Cement Company LLC v. EPA (9th Cir. Apr. 14, 2023), whichever occurs first.

      Accordingly, Nevada’s case proceeded in the Ninth Circuit and on July 3,

2023, the Ninth Circuit entered an order referring EPA’s motions to transfer the

petition to the United States Court of Appeals for the District of Columbia, or in the

alternative to dismiss the petition for improper venue to the panel of judges that will

decide the merits of the petition. Att. 1, Nevada Cement Co. v. EPA, No. 23-682,

Doc. 27.1, Order (9th Circuit. July 3, 2023). However, with the consent of all parties,

on December 6, 2023, the case entered the Ninth Circuit mediation program. Att. 2,

Nevada Cement Co. v. EPA, No. 23-682, Order (9th Circuit Dec. 6, 2023). The State

of Nevada is currently pursuing an out of court agreement with EPA. Due to

mediation, the Ninth Circuit has yet to rule on EPA’s motion to transfer or dismiss.

      EPA has indicated they are attempting to finalize an out of court settlement

with Nevada Cement. Further, EPA and Nevada Cement intend to request from the

Ninth Circuit an abeyance pending implementation of the settlement agreement and

intend to request the Ninth Circuit lift the stay of the State Implementation Plan

disapproval. If EPA and Nevada Cement do take such action, Nevada intends to

move for a stay pending resolution of the jurisdictional issues currently before the

Supreme Court.




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      On February 27, 2024, the Tenth Circuit issued an opinion holding that venue

was proper in this Court, not in the Tenth Circuit. Oklahoma v. EPA, 93 F.4th 1262

(10th Cir. 2024). The Tenth Circuit then accordingly transferred the cases to this

Court. Id. This Court then requested the parties file motions to govern future

proceedings. See Order Dkt. 2042800 at 2.

      On March 28, 2024, the State of Utah Petitioner and the State of Oklahoma

Petitioner filed Petitions for Writ of Certiorari requesting the Supreme Court of the

United States to review the 10th Circuit Court of Appeals transfer order. This Court

therefore should defer further consideration of Nevada’s petition pending the

outcome of the proceedings in the Ninth Circuit and/or the Supreme Court.

II.   Motion to Govern

      A.      Abeyance

      Petitioner State of Nevada respectfully requests that this Court continue to

hold its petition for review in abeyance pending a final decision by the Ninth Circuit

Court of Appeals where Petitioner intervened in Nevada Cement Company’s

challenge. Nevada Cement Company LLC v. EPA, No. 26-382 (9th Circuit). Or in

the alternative, hold the petition in abeyance pending the Supreme Court’s decision

on the Petitions for Certiorari.

      EPA opposes this motion and instead moves for expedited consideration and

proposes a briefing schedule. However, the administration of justice dictates that


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this Court abate the proceedings while the Ninth Circuit considers the Petition for

Review and/or the Supreme Court considers the Petitions for Certiorari. Ordering

Nevada to initiate proceedings in this Court while the case is moving forward in the

Ninth Circuit would create unnecessary litigation and the potential for divergent

decisions challenging the same EPA actions. Nevada opposes any disruption to the

process taking place in the Ninth Circuit and requests this Court continue to hold

Nevada’s petition in abeyance pending the Ninth Circuit proceedings. Further,

continuing the abatement would not harm any of the parties because Petitioners and

Respondents would have the opportunity to pursue the same arguments and seek the

same relief in the Ninth Circuit as would be sought in this Court.

      Nevada is moving forward with its case in the Ninth Circuit mediation

program and is in discussions with EPA. If the mediation process fails to produce

an informal resolution, Nevada intends to move the litigation process forward in the

Ninth Circuit. Unless one court stands down, each court “would be required to

duplicate their efforts” with the potential to “generate contradictory results…”

Utahamerican Energy, Inc. v. Dep’t of Labor, 685 F.3d 1118, 1124 (D.C. Cir. 2012).

If abeyance is denied and both petitions proceed, the same parties would be litigating

the same issues before separate courts with the potential for outcomes in conflict.




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      Accordingly, the Court should grant this motion as the continued abeyance

will promote judicial efficiency, avoid potentially conflicting results, and will not

harm any parties.

      B.     Briefing Schedule

      EPA proposes a briefing schedule for Nevada and requests expedited

consideration. Nevada does not oppose the length or format of EPA’s proposed

briefing schedule but does oppose the briefing schedule deadlines as premature.

First, as previously argued, Nevada is currently mediating in the Ninth Circuit and

requests these proceedings be abated pending the outcome there. Alternatively, due

to the Petitions for Certiorari, Nevada requests that the opening brief be due 30 days

after the Supreme Court’s disposition of the Petitions, rather than 30 days after this

Court’s disposition of the Motions to Govern. This will allow for briefing, oral

argument, if any, and a decision to occur in the proper venue. For these reasons,

Nevada respectfully requests that the Court not adopt a briefing schedule with

respect to Nevada until resolution of proper venue either from the Ninth Circuit or

the Supreme Court. However, if this Court orders briefing, Nevada requests this

Court abate the decision on the merits until the Supreme Court issues a decision.

Further, in the event the Supreme Court decides that EPA’s disapproval of the State

Implementation Plans is a regional issue rather than a national issue, Nevada

reserves its right to transfer the briefs to the Ninth Circuit for disposition.


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III.   Conclusion

       For the foregoing reasons, the Court should continue to hold the Petition for

Review filed by the State of Nevada in abeyance until the issue of proper venue is

resolved.

                                       Respectfully submitted,

                                       AARON D. FORD
                                       Attorney General

                                       By: /s/ Heidi Parry Stern
                                           Heidi Parry Stern (Bar. No. 8873)
                                           Solicitor General
                                           Office of the Nevada Attorney General
                                           555 E. Washington Ave., Ste. 3900
                                           Las Vegas, NV 89101
                                           (702) 486-3594
                                           HStern@ag.nv.gov

                                             Attorneys for State of Nevada




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                     CERTIFICATE OF COMPLIANCE

      The foregoing motion contains 1,176 words and complies with the type-

volume limit in Fed. R. App. P. 27(d)(2)(A). The document complies with the

typeface and typestyle requirements of Fed. R. App. P. 32(a)(5)(A).

      Dated: July 3, 2024

                                      /s/ R. Carreau____________________
                                      An Employee of the Office of the
                                      Attorney General




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                         CERTIFICATE OF SERVICE
      I hereby certify that on July 3, 2024, I electronically filed the foregoing,

STATE OF NEVADA’S MOTION TO GOVERN FUTURE PROCEEDINGS,

with the Clerk of the Court using the CM/ECF System, which will be therefore

served on all parties.


                                     /s/ R. Carreau____________________
                                     An Employee of the Office of the
                                     Attorney General




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      Attachment 1




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      Attachment 2




      Attachment 2
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